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New Director of Civil Rights Division Appointed in Bexar County District Attorney's
Office

“A Continued Commitment to Fairness and Accountability in Law Enforcement”

The Bexar County District Attorney’s Office is pleased to announce the appointment of Jeff
Mulliner as the new Director of the Civil Rights Division. Established in October 2020, the
Civil Rights Division handles officer-involved shootings, custodial deaths, and allegations
of excessive use of force by law enforcement. Mulliner succeeds Daryl Harris, who has
significantly contributed to the Division's success and will remain a valued member of the
District Attorney’s Office.

Jeff Mulliner rejoined the Bexar County District Attorney’s Office in 2023 as a First Chair
Prosecutor in the Criminal Trial Division. With over 30 years of legal experience, Mulliner
has distinguished himself as both a prosecutor and defense attorney. His career began at the
Bexar County District Attorney's Office, where he quickly rose to chief district court
prosecutor, successfully trying numerous high-profile cases. He later served as President of
the San Antonio Criminal Defense Lawyers Association before returning to prosecution.

District Attorney Joe Gonzales expressed confidence in Mulliner’s appointment, “Jeff
brings a wealth of experience, a strong commitment to justice, and an unwavering
dedication to civil rights. His extensive background in both prosecution and defense
uniquely positions him to lead our Civil Rights Division with fairness and integrity. With
his skills and dedication, I know he will successfully continue the important work initiated
by his predecessor.”

Daryl Harris, who has led the Civil Rights Division since its inception, will continue to
play a significant role in the Bexar County District Attorney’s Office. Reflecting on his
tenure, Harris stated, ““The establishment of the Civil Rights Division was a necessary step
toward ensuring transparency and fairness in our community. I am confident that Jeff will
uphold these values and lead the Division to greater heights.”

The Civil Rights Division consists of two prosecutors, an investigator, and an advocate
who report directly to District Attorney Gonzales.

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